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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                 BOWLING GREEN DIVISION
                                  CASE NO. 1:09-CR-00026-R

  UNITED STATES OF AMERICA                                                             PLAINTIFF

  v.

  BRICESON WALKUP, et. al.                                                         DEFENDANTS

                             MEMORANDUM OPINION & ORDER

         This matter comes before the Court upon Defendant Briceson Walkup’s Motion to

  Suppress Fruits of Electronic Surveillance (DN 495). Defendants Roderick Curry and Charles

  Curry have filed similar motions, adopting and incorporating Walkup’s arguments (DN 498,

  501). Government has responded (DN 519) and Defendant has replied (DN 524). This matter is

  now ripe for adjudication. For the reasons that follow, Defendant’s Motion is DENIED.

                                          BACKGROUND

         Defendant Briceson Walkup is one of thirty defendants named in a forty-three-count

  indictment. He is charged on two counts, participation in a conspiracy to possess and distribute

  fifty grams or more of crack cocaine (violation of 21 U.S.C. §§ 841(b)(1)(A), 846) and

  knowingly and intentionally possessing crack-cocaine with the intent to distribute (violation of

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(C)). He is alleged to be a member of a drug trafficking

  conspiracy that was centered in Columbia, Kentucky.

         In 2007, members of the Federal Bureau of Investigation (“FBI”) and Kentucky State

  Police (“KSP”) began a joint investigation of drug trafficking in a neighborhood of Columbia

  commonly referred to as “the Pike.” The investigation centered on a drug trafficking

  organization allegedly headed by Roderick Curry. For over a year, the investigation used a

  variety of techniques to gain information on Curry and his organization, including confidential
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  informants, controlled purchases of drugs, consensual monitoring of informants with Curry and

  his suspected associates, surveillance of the neighborhood where Curry operated, and pen

  registry analysis of phones that Curry used.

         In September of 2008, the FBI applied for a warrant authorizing a wiretap on two

  telephone numbers that Curry and his organization were believed to be using. Special Agent

  Thomas Devine of the FBI petitioned for the wiretap. At that time, Devine was a ten-year

  veteran of the FBI with training and experience in drug investigations and electronic

  surveillance. In the Affidavit in Support of Application for Authorization to Intercept Wire and

  Electronic Communications (“affidavit”), Devine detailed the lengthy investigation and the

  methods employed by the FBI and KSP to gather evidence. To show the necessity of the

  requested wiretaps, he described the difficulty law enforcement agents were encountering in

  identifying all the co-conspirators of Curry’s narcotics organization, the source of the illegal

  narcotics, and the scope of Curry’s narcotics distribution activities. Devine’s affidavit set forth

  the following reasons why a wiretap was required in lieu of other investigative techniques:

         - While confidential sources had been heavily utilized, Devine’s experience told him that
         confidential sources had limited information on the organization as a whole and the
         information the sources provided would be insufficient to target Curry’s suppliers and
         customers.

         - Searching Curry’s residence in Columbia with a valid warrant would not provide
         sufficient evidence to determine the scope of criminal activity and the methods being
         used by Curry’s organization. Devine stated that although probable cause existed to
         effectuate a search on the residence, confidential informants indicated the narcotics were
         most likely not kept in the residence. Devine also affirmed that even if law enforcement
         officers were able to search the residence and discover illicit narcotics, this would not
         supply the investigation with the evidence it sought - information on the participants in
         and scope of Curry’s organization.

         - Surveillance by law enforcement officers had proven of little value given that Curry
         employed lookouts to monitor for approaching police and the layout of the neighborhood
         made it near impossible to observe Curry’s residence undetected. Devine further
         described attempts to conduct aerial surveillance on Curry and the neighborhood where
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         he operated. These efforts failed as adverse weather conditions and overgrown foliage
         stymied law enforcement’s efforts.

         - Even though pen registries as well as traps and traces had been employed during the
         investigation, these tools did not reveal the content of the phone call or the identity of the
         caller.

         - Devine believed that attempting to remove trash from Curry’s residence would not yield
         valuable evidence because in Devine’s experience, high-level drug traffickers destroyed
         incriminating items instead of discarding them in the trash. Devine also worried that
         trash searches risked detection by Curry because the trash was stored so close to his
         house and sanitation workers, who ultimately would pick up the trash, might inform
         Curry of the ongoing investigation.

         - In Devine’s opinion, interviews with Curry’s associates, vehicle tracking devices,
         undercover operations, and a Federal Grand Jury Investigation would not produce strong
         evidence.

  Based on the information supplied by the prior investigation and in light of these reasons, Devine

  claimed electronic surveillance was necessary. The district court judge issued an order

  authorizing the interception of wire communications on September 10, 2008, terminating thirty

  days later. On October 10, 2008, the district court judge renewed his authorization for thirty

  additional days. Devine’s second affidavit for this subsequent application incorporated by

  reference his first affidavit with the aforementioned reasons for the wiretap.

         Defendant was recorded on ten separate phone calls between September 9 and October

  21 of 2008. All but one of the phone calls were between Defendant and Curry. Defendant now

  moves to suppress evidence from any of the intercepted telephonic communications. As basis

  for this motion, Defendant argues that Devine’s affidavit did not appropriately establish the

  “necessity requirement” that must be shown in an application for a wiretap, and for that reason,

  the first order authorizing the interception of electronic communication was improper.

  Defendant also avers that as the second order from the district court judge authorizing the wire
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  tap for an additional thirty days is an extension of the first order, it too is invalid and represents

  fruit of the poisonous tree.

                                              STANDARD

          Federal statute sets forth the necessity requirement, mandating that an application for a

  wire tap shall include “[a] full and complete statement as to whether or not other investigative

  procedures have been tried and failed or why they reasonably appear to be unlikely to succeed if

  tried or to be too dangerous.” 18 U.S.C. § 2518(1)(c). It is required in every application “to

  ensure that a wiretap ‘is not resorted to in situations where traditional investigative techniques

  would suffice to expose the crime.’” United States v. Alfano, 838 F.2d 158, 163 (6th Cir. 1988)

  (quoting United States v. Kahn, 415 U.S. 143, 153 n. 12 (1974)). The necessity requirement also

  prohibits law enforcement officers from prematurely relying on wiretaps as an investigative tool.

  See United States v. Rice, 478 F.3d 704, 710 (6th Cir. 2007) (citing United States v. Giordano,

  416 U.S. 505, 515 (1974)).

          “Although Title III sets forth elaborate procedures for obtaining permission to use a

  wiretap, ‘the government is not required to prove that every other conceivable method has been

  tried and failed or that all avenues of investigation have been exhausted.’” Id. at 710 (quoting

  Alfano, 838 F.2d at 163). “All that is required is that the investigators give serious consideration

  to the non-wiretap techniques prior to applying for wiretap authority and that the court be

  informed of the reasons for the investigators' belief that such non-wiretap techniques have been

  or will likely be inadequate.” Alfano, 838 F.2d at 163-64; see Rice, 478 F.3d at 710. Where,

  however, the investigating officers present a “purely conclusory affidavit” that fails to

  demonstrate the facts to the circumstances at hand, the necessity requirement is not met. Rice,

  478 F.3d at 710 (citing United States v. Landmesser, 553 F.2d 17, 20 (6th Cir. 1977)).
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         Finally, great deference should be afforded the issuing judge’s decision when “reviewing

  the validity of an electronic surveillance order.” United States v. Corrado, 227 F.3d 528, 539

  (6th Cir. 2000).

                                             ANALYSIS

         Defendant argues that as Devine’s affidavits indicate the police investigation was

  working well, wiretaps were not critical to the production of additional evidence. Defendant

  points to the four confidential informants who were funneling information to the authorities, the

  numerous controlled purchases of drugs by these informants, the information supplied by pen

  registries, and the surveillance of the members of the drug conspiracy to illustrate why the

  success of the investigation rendered the wiretap unnecessary. He further alleges that alternative

  investigative techniques like search warrants were not employed and should have been utilized

  before the district court authorized the interception of wire communications. Defendant charges

  that anticipatory search warrants could have been executed on Curry’s residence and other

  properties associated with his organization before the authorities resorted to electronic

  surveillance.

         The Government responds to this argument by stating that the purpose of the

  investigation was broader than simply arresting Curry or searching properties with which he was

  affiliated; wiretaps were necessary to identify his sources of supply and all other co-conspirators.

         The Court has closely reviewed both of Devine’s affidavits. In short, each provides an

  extremely detailed account of the alternative investigative techniques and why they had been or

  would be inadequate to accomplish the investigation’s objectives. The Court finds that the

  investigators gave serious consideration to the non-wiretap techniques prior to applying for

  wiretap authority. Law enforcement officers employed confidential informants, controlled
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  purchases, pen registries, and surveillance on the ground and from the air; none of these methods

  could supply them with the desired information. Regarding the investigative techniques that

  were not tried, Devine’s affidavit provided solid reasons as to why those techniques were

  inadequate or inappropriate. Specifically addressing Defendant’s assertion that the option of

  search warrants should have been pursued before a wiretap, Devine affirmed that searching the

  residences with ties to Curry’s organization would have been unfruitful because the evidence

  most likely to be garnered from these searches would not have yielded information on the

  participants in or the scope of Curry’s organization. Devine relayed a variety of reasons for this,

  all premised on his own and other officer’s experience in narcotics investigations. Finally, the

  affidavits were not purely conclusory, but were supported by facts and Devine’s investigative

  experience. For these reasons, this Motion to Suppress is improper.

         Because the requisite necessity was present for the initial wiretap issued on September

  10, 2008, Defendant’s argument regarding the validity of the subsequent wiretap issued on

  October 10, 2008, is also improper. Devine’s second affidavit attesting to the necessity of the

  wiretap is equally persuasive.

                                           CONCLUSION

         For the foregoing reasons, IT IS HEREBY ORDERED that Defendant’s Motion (DN

  495) is DENIED.

         As the Motions to Suppress submitted by Defendants Roderick Curry and Charles Curry

  add no substantive arguments to Walkup’s Motion, IT IS HEREBY ORDERED that those

  Motions (DN 498, 501) are also DENIED.




                                                                                              November 16, 2010
